AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                  Eastern District
                                                  __________       of North
                                                               District     Carolina
                                                                        of __________


                     MANUEL TORRES                                 )
                             Plaintiff                             )
                                v.                                 )      Case No.    5:19-cv-00327-FL
              TRACY LYNN CARTER, et. al.                           )
                            Defendant                              )

                                                      APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          TOWN OF APEX, NORTH CAROLINA                                                                                         .


Date:          08/19/2019                                                                  /s/ Paul S. Holscher
                                                                                             Attorney’s signature


                                                                                             Paul S. Holscher
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                        Case 5:19-cv-00327-FL Document 5 Filed 08/19/19 Page 1 of 1
